Case 5:15-cv-00071-JRG-CMC Document 1 Filed 05/28/15 Page 1 of 4 PageID #: 1



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                               TEXARKANA DIVISION



LISA MENDENALL,                                      §
              PLAINTIFF                              §
                                                     §
vs.                                                  §       CIVIL ACTION NO. 5:15-cv-_____
                                                     §
UNUM LIFE INSURANCE CO.                              §               JURY
OF AMERICA,                                          §
              DEFENDANT                              §


                                         COMPLAINT

       NOW comes LISA MENDENALL, hereinafter referred to as “PLAINTIFF” and for her

COMPLAINT against UNUM LIFE INSURANCE COMPANY OF AMERICA,

hereinafter referred to as “DEFENDANT” states, alleges and says the following, to-wit:

                                          A. PARTIES

1.     Plaintiff is an individual resident of Texarkana, Bowie County, Texas. Defendant UNAM

       Life Insurance Company of America is a life insurance company incorporated in a state other

       than Texas, but is authorized to do business in the state of Texas and, in fact, issued an

       employer provided life insurance policy double indemnity coverage in the amount of $90,000

       in the event of death caused by accident. The life insurance made the basis of this suit was

       issued upon the life of Loyd Russell Mendenall, husband at the time of death of the Plaintiff.

       The Plaintiff was the sole beneficiary under the terms of the policy #9045940.




COMPLAINT                                  Page 1 of 4
Case 5:15-cv-00071-JRG-CMC Document 1 Filed 05/28/15 Page 2 of 4 PageID #: 2



                                    B. JURISDICTION
                                    (Federal Question )

2.   This Honorable Court has jurisdiction and venue of the Parties and subject matter of this suit

     under 29 U.S.C. §1132(a)(1)(A) and (B), (Employee Retirement Income Security Act

     “ERISA”) Venue is proper in this court because the Life Insurance Plan provided under the

     Employer initiated plan is administered in the Eastern District of Texas where Plaintiff

     resides. Upon proper service of the defendant, this honorable court shall have jurisdiction

     and venue over the parties and subject matter of this suit.

                                  C. Conditions Precedent

3.   All conditions precedent have been performed or have occurred.

                                           D. Facts

4.   Plaintiff is the widow of Loyd Russell Mendenall, who died on July 26, 2013 as a direct

     result of an automobile accident and the injuries sustained in said accident. Loyd Russell

     Mendenall, at the time of his death and prior thereto, was an employee of Gregg Orr Auto

     Collection, a group of companies of which Orr Motors of Ashdown, Inc. d/b/a Orr Classic

     Chevrolet, located at 941 N. Constitution Avenue, Ashdown, AR 71822 is a division,

     subsidiary or affiliated company. A life insurance group policy #47193 was purchased and

     issued to Loyd Russell Mendenall on his life in the amount of $90,000, and, in addition, an

     Accidental Death and Dismemberment Insurance policy was issued as additional coverage

     on his life in the amount of $90,000. Plaintiff was the named beneficiary under both policies.

5.   The Plaintiff timely and properly filed claims under both coverages on or about August 9,

     2013 for the death which occured on July 26, 2013. The Defendant wrongfully denied



COMPLAINT                                Page 2 of 4
Case 5:15-cv-00071-JRG-CMC Document 1 Filed 05/28/15 Page 3 of 4 PageID #: 3



      benefits under the Accidental Death and Dismemberment Insurance coverage.

6.    As a result of the failure to pay the benefits to the Plaintiff as a result of the accidental death

      directly and proximately caused by the injuries sustained in the automobile accident on July

      26, 2013, Plaintiff is entitle to judgment in the amount of $90,000.00, plus such other relief

      as provided under the Accidental Death and Dismemberment Insurance Policy and as

      provided under law.

                                          E. DAMAGES

7.    Plaintiff prays for judgment in the amount of $90,000.00 under the terms of the insurance

      policy, prejudgment interest from July 26, 2013 until judgment is entered in this case.

                                      G. ATTORNEY FEES

8.    Plaintiff is entitled to an award of attorney fees and costs for breach of the contract of

      insurance in violation of the terms thereof.

                                           H. PRAYER

9.    Wherefore, premises considered, Plaintiff pray for judgment against the Defendant in the

      amount of $90,000;

10.   For pre-judgment interest;

11.   For post-judgment interest;

12.   Attorney’s fees,

13.   Cost of court herein expended and all other just and proper relief, both legal and

      equitable, to which plaintiffs may show themselves to be entitled.




COMPLAINT                                   Page 3 of 4
Case 5:15-cv-00071-JRG-CMC Document 1 Filed 05/28/15 Page 4 of 4 PageID #: 4



                                                  Respectfully submitted,

                                                  David J. Potter and Associates
                                                  901 N. State Line Avenue
                                                  Texarkana, TX 75501
                                                  Telephone: (903) 794-2283
                                                  Facsimile: (903) 792-6553
                                                  Email: dpotter@potter-law.com




                                                  __________________________________
                                                  David J. Potter, Lead Counsel
                                                  Texas Bar Number: 16175000


                                      JURY DEMAND

     Plaintiff hereby give notice of her demand for jury.




                                                  _________________________________
                                                  David J. Potter
                                                  Attorney for Plaintiff




COMPLAINT                                Page 4 of 4
